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 1 JOHN D. CLINE (CA State Bar No. 237759)
   50 California Street, Suite 1500
 2 San Francisco, CA 94111
   Telephone: (415) 662-2260 │Facsimile: (415) 662-2263
 3 Email: cline@johndclinelaw.com

 4 KEVIN M. DOWNEY (Admitted Pro Hac Vice)
   LANCE A. WADE (Admitted Pro Hac Vice)
 5 AMY MASON SAHARIA (Admitted Pro Hac Vice)
   KATHERINE TREFZ (CA State Bar No. 262770)
 6 WILLIAMS & CONNOLLY LLP
   725 Twelfth Street, NW
 7 Washington, DC 20005
   Telephone: (202) 434-5000 │Facsimile: (202) 434-5029
 8 Email: KDowney@wc.com; LWade@wc.com; ASaharia@wc.com; KTrefz@wc.com

 9 Attorneys for Defendant ELIZABETH A. HOLMES

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11                               UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                  )   Case No. CR-18-00258-EJD
15                                              )
            Plaintiff,                          )   MOTION FOR ORDER ISSUING RULE 17
16                                              )   SUPBOENA
       v.                                       )
17                                              )
     ELIZABETH HOLMES and                       )   Hon. Edward J. Davila
18   RAMESH “SUNNY” BALWANI,                    )
                                                )
19          Defendants.                         )
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     MOTION FOR ORDER ISSUING RULE 17 SUBPOENA
     CR-18-00258 EJD
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 1                        MOTION FOR ORDER ISSUING RULE 17 SUBPOENA

 2          Pursuant to Federal Rule of Criminal Procedure 17, Defendant Elizabeth Holmes hereby moves

 3 this Court for an Order issuing the trial subpoena attached as Exhibit 1. 1

 4          The subpoena, which is returnable to the Court on the first day of the upcoming trial in this

 5 matter, seeks the trial testimony of Dr. Gerald Asin, an Arizona internist who was disclosed as a

 6 government expert. The subpoena also requests that Dr. Asin bring with him certain documents relevant

 7 to his expected trial testimony. Those documents will include personal information of the Theranos

 8 customer about whose test results Dr. Asin is expected to testify.

 9          The document request in the subpoena is narrowly tailored to call for identifiable, relevant

10 records that are necessary to Ms. Holmes’ defense. The sole request in the subpoena is for the medical

11 record file for E.T., the customer whose HIV test result forms the basis of Count 10 of the Third

12 Superseding Indictment. Dkt. 469 ¶ 26. E.T. is identified in Dr. Asin’s most recent expert disclosure as

13 the only patient about whom he will testify. See Dkt. 900-3. These documents are relevant to Dr.

14 Asin’s opinion that E.T. received a false positive test, and to addressing the potential causes of that

15 alleged false positive, whether or not Dr. Asin identified it at the time. Additionally, documents

16 produced by the government suggest that Dr. Asin formed his opinion based in part on his understanding

17 of his patient’s overall medical history. See Decl. of K. Trefz, Ex. 2, at 2.

18          These documents are necessary to Ms. Holmes’ defense. The government has chosen to prove

19 its allegation that Theranos could not consistently produce accurate and reliable test results on an

20 anecdotal basis. Ms. Holmes must have a full opportunity to address the anecdotes the government has

21 chosen to present—and, in this particular instance, charge as an indictment count.

22          Under Rule 17, a Court order is required before a “subpoena requiring the production of personal

23 and confidential information about a victim” may be served upon a third party. Fed. R. Crim. P.

24 17(c)(3). The Rule also mandates a procedure for providing notice to those individuals whose personal

25 or confidential information the subpoena seeks. See id.

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           Ms. Holmes has redacted from the subpoena the name of the customer. Ms. Holmes
28 simultaneously will move for leave to file the unredacted subpoena with the Court under seal.
   MOTION FOR ORDER ISSUING RULE 17 SUBPOENA
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 1          The proposed method of notice for the subpoena is as follows:

 2              The subpoena to Dr. Asin seeks information related to the one Theranos customer cited in the
 3               government’s expert disclosure. Notice will be provided to the customer by both mail and

 4               phone.

 5          Because notice of the subpoena will be provided to the customer, Ms. Holmes submits that the

 6 Rule 17 requirements for issuing the subpoena is satisfied, with the understanding that the recipient may

 7 promptly move to quash or modify the subpoena should they contend it is “unreasonable or oppressive”

 8 or on another ground as permitted under the Federal Rules and the rules of this Court. See Fed. R. Crim.

 9 P. 17(c)(2).

10          Ms. Holmes respectfully requests that the Court grant the attached Proposed Order issuing the

11 subpoena.

12 DATED: August 19, 2021

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15                                                       /s/ Katherine Trefz
                                                         KEVIN DOWNEY
16                                                       LANCE WADE
                                                         AMY MASON SAHARIA
17                                                       KATHERINE TREFZ
                                                         Attorneys for Elizabeth Holmes
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 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on August 19, 2021 a copy of this filing was delivered via ECF on all
 3 counsel of record.

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 5                                                      /s/ Katherine Trefz
                                                        KATHERINE TREFZ
 6                                                      Attorney for Elizabeth Holmes

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